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                                                                 BRUCE DUBINSKY


                    UNITED STATES DISTRICT COURT                 EXHIBIT 5201
                                                                     03 - 29 - 2022
                   SOUTHERN DISTRICT OF NEW YORK


IN RE:
CUSTOMS AND TAX ADMINISTRATION
OF
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX                No. 18-MD-2865-LAK
REFUND
SCHEME LITIGATION




    REBUTTAL REPORT OF BRUCE G. DUBINSKY
      MST, CPA, CFE, CVA, CFF, CAMS, MAFF

                          February 1, 2022
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24. Similarly, when Carr discusses the dividend from Chr. Hansen of DKK 5,092,889
     (approximately USD $850,000) that was purportedly received by the Proper Pacific Plan in
     December 2014, Carr cites to the Old Park Lane custodian statement as evidence that the
     dividend was paid.22 However, the dividend in the custodian account statement is only a
     book entry. There is no evidence that the Proper Pacific Plan actually received the cash from
     this supposed dividend. Further, the date included next to the purported dividend on the Old
     Park Lane statement is November 28, 2014,23 which is the ex-date of the dividend and pre-
     dates the issuer’s payment date (December 2, 2014). This further highlights the fictitious
     nature of this transaction, as it is simply impossible to receive a cash dividend 4 days before
     the actual dividend payments were made to real holders of the Chr. Hansen stock.24
25. Further, I have reviewed all the Solo Capital bank statements which have been produced to
     date and have seen no evidence of the purported dividends being received for the Proper
     Pacific Plan or any other Plan for holdings of Chr. Hansen shares.25 By contrast, there is
     evidence, as one would expect, that Solo Capital received actual cash payments from the tax
     reclaim agents (Goal, Syntax and Acupay) of the proceeds from the refund payments made
     by SKAT. For example, the Proper Pacific Plan sought a refund of DKK 854,527.05 for its
     purported ownership of 839,500 shares of Chr. Hansen.26 On May 22, 2015, Goal Taxback
     sent an email to Old Park Lane informing Old Park Lane that Goal Taxback initiated a
     payment of DKK 345,671,015.02 in connection with Danish refund payments.27 Goal
     Taxback attached a spreadsheet identifying each of the 51 refund payments on behalf of 17
     pension plans and other entities which were included in the total payment made by Goal to
     Old Park Lane.28 Among the specific refund payments is the DKK 854,527.05 refund
     payment for the Proper Pacific Plan’s reclaim application for Chr. Hansen shares. I have
     traced Goal Taxback’s payment of DKK 345,671,015.02 into Solo Capital’s DKK bank

22
   Carr interestingly never discusses the fact that Old Park Lane was an entity related to Shah and Solo. Related
party transactions are transactions that auditors and forensic accountants must pay particular attention to as many
frauds occur through the manipulation and/or fabrication of documents between related parties. See my Expert
Report for discussion on related parties in the Solo Trades.
23
   PROPPACIF00000955.
24
   S&P Capital IQ.
25
   SCPADMINISTRATORS_00000001- SCPADMINISTRATORS_00005864.
26
   SKAT_MDL_001_00088872 at 88900.
27
   ELYSIUM-04281988.
28
   ELYSIUM-07574930.
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      account at Barclays on May 22, 2015 (see Figure 4 below).29




        Barclays Currency Account                                                          BARCIAYS
        Danish Krone
                                                                  State men t shee t 12 (issued on 9 Nov 2015 )
        Account numbe r       86827244




        Transactions in date order (in DKK)
        Dare    Descriprion                                        Payments             Rece ipts            Ba lance
        Contin ued




                AFT receipl
                Ref·-GOAL TAXBACK LIM 556522 OLD PARK                             345.671.015.02




                     Figure 4 – Solo Capital’s Barclays Account Statement for May 2015

26. An internal Old Park Lane cash summary spreadsheet shows that Old Park Lane credited
      the refund payment of DKK 845,982 for Chr. Hansen shares to the Proper Pacific Plan’s
      custodian account on the date the payment was received (May 22, 2015).30
27. I reviewed each Bellwether Plan and found that there is no evidence of funds from dividends
      being paid to the Plans’ bank account statements and only evidence of money from the tax
      reclaims being received by the Plans (if any money was received at all), which is further
      detailed in the analysis performed in Exhibit 4 of my Expert Report.




29
     SCPADMINISTRATORS_00005493 at 96.
30
     ELYSIUM-10379199 at PPL01.
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IV.      CONCLUSION

28. Based on my review of the Carr Report, I conclude that Carr’s opinions and conclusions are
      fatally flawed for the following reasons:
             x   Carr relies on the false assumption that the trade confirmations and customer
                 account statements reflect real securities transactions.
             x   Carr failed to perform a forensic accounting analysis to independently confirm the
                 existence of the shares and receipt of the cash dividends. As demonstrated in my
                 Expert Report and this Rebuttal Report, a forensic accounting analysis establishes
                 that the purported facts on which Carr relies are not real.
             x   Carr failed to consider evidence that shows that the shares did not exist.
             x   Carr failed to consider evidence that shows that the dividends were never received
                 by, or on behalf of the Plans.




                                Bruce G. Dubinsky, MST, CPA, CFE, CFF, MAFF, CAMS

                                February 1, 2022
